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  UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF COLORADO

       IN RE:                                              CHAPTER 13
       JUDITH JEAN SCHNEIDER                               CASE: 17-11810 MER



                                     DEBTOR


         NOTICE PURSUANT TO L.B.R. 9013-1 OF CHAPTER 13 TRUSTEE'S
                     OBJECTION TO PROOF OF CLAIM


                   OBJECTION DEADLINE: January 18, 2019.

     YOU ARE HEREBY NOTIFIED that the Chapter 13 Trustee has filed a Motion to
   Determine Treatment of Claim #7 filed by ADAMS COUNTY TREASURER, with the
   Bankruptcy Court and requests the following relief: Order Granting Chapter 13 Trustee's
   Motion to Determine Treatment of Claim #7 filed by ADAMS COUNTY TREASURER.

      If you oppose the Motion or object to the requested relief, your response and request
   for hearing must be filed on or before the objection deadline stated above, served on the
   movant at the address indicated below, and must state clearly all objections and any legal
   basis for the objections. The court will not consider general objections.

      In the absence of a timely, substantiated objection and request for hearing by an
   interested party, the court may approve or grant the requested relief without any further
   notice to creditors or other interested parties.


    DATE: December 12, 2018
                                                       BY:/s/ Adam M. Goodman
                                                       Adam M. Goodman
                                                       Standing Chapter 13 Trustee
                                                       P.O. Box 1169
                                                       Denver, CO 80201
                                                       tel 303 830-1971
                                                       fax 303 830 1973
                                                       agoodman@ch13colorado.com
